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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                 Case No. 19-23131-Civ-SCOLA/LOUIS

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION

         Plaintiff,
  &

  LOUISE DAVIDSON-SCHMICH,

         Plaintiff-Intervenor,
  vs.

  UNIVERSITY OF MIAMI,

        Defendant.
  ________________________________/

        PLAINTIFF EEOC’S NOTICE OF WITHDRAWAL OF MOTION TO COMPEL
                             PRODUCTION OF ESI

         Plaintiff Equal Employment Opportunity Commission (“EEOC”) respectfully notifies the

  Court of its withdrawal of EEOC’s Motion to Compel Production of ESI (DE #62). Defendant

  University of Miami (“UM”) has since produced to EEOC the electronically stored information

  (“ESI”) that formed the basis of EEOC’s Motion to Compel, rendering the motion moot.

  Dated: July 20, 2020                        Respectfully submitted,
                                              s/ Ana Consuelo Martinez
                                              Ana Consuelo Martinez
                                              Florida Bar No. 110394
                                              Trial Attorney
                                              U.S. Equal Employment Opportunity Commission
                                              Miami District Office
                                              100 SE 2nd Street, Suite 1500
                                              Miami, FL 33131
                                              Telephone: (786) 648-5791
                                              ana.martinez@eeoc.gov
                                              Counsel for Plaintiff EEOC
